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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:20-cr-00241 SI

               v.                                    INFORMATION

WYATT ASH-MILBY,                                     41 C.F.R. § 102-74.385
                                                     41 C.F.R. § 102-74.390
               Defendant.                            40 u.s.c. § 1315



                     THE UNITED STATES ATTORNEY CHARGES:.

                                           COUNT 1
                               (Failing to Obey a Lawful Order)
                                    (41 C.F.R. § 102-74.385)

       On or about July 21, 2020, in the District of Oregon, defendant WYATT ASH-MILBY

did willfully enter in and on federal property, to wit: the grounds of the Mark 0. Hatfield Federal

Courthouse, and failed to comply with the lawful direction of federal police officers and other

authorized individuals;

       In violation of Title 40, United States Code, Section 1315 and 41 Code of Federal

Regulations, Section 102-74.385, a class C misdemeanor.

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                                          COUNT2
                          (Disorderly Conduct on Federal Property)
                                   (41 C.F.R. § 102-74.390)

       On or about July 21, 2020, in the District of Oregon, defendant WYATT ASH-MILBY

did willfully enter in and on federal property, to wit: the grounds of the Mark 0. Hatfield Federal

Comihouse, and did exhibit disorderly conduct and exhibit conduct on the prope1iy that

umeasonably obstructed the usual use of entrances and impeded and disrupted Government

employees from the performance of their official duties;

       In violation of Title 40, United States Code, Section 1315 and 41 Code of Federal

Regulations, Section 102-74.390, a class C misdemeanor.



Dated: July 21, 2020                                 Respectfully submitted,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney


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                                                     PAUL T. M
                                                     Assistant United States    omey




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